     Case 3:16-cv-03044-L-KSC Document 62 Filed 09/12/18 PageID.1349 Page 1 of 3




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     Attorneys for Lead Plaintiff Natissisa
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 9

10
                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA
11

12
      IN RE ILLUMINA, INC.                         Master File No. 3:16-CV-03044-L-KSC
      SECURITIES LITIGATION
13                                                 PLAINTIFF’S NOTICE OF MOTION
14                                                 AND MOTION TO FILE SECOND
                                                   AMENDED COMPLAINT
15

16                                                 Date: October 8, 2018
                                                   Time: 10:30a.m.
17                                                 Courtroom: 5B (5th Floor - Schwartz)
18                                                 Judge: M. James Lorenz

19                                                 Magistrate: Karen S. Crawford
20
                                                   Complaint Filed: December 16, 2016
21

22                                                 NO ORAL ARGUMENT UNLESS
                                                   REQUESTED BY THE COURT
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     Case 3:16-cv-03044-L-KSC Document 62 Filed 09/12/18 PageID.1350 Page 2 of 3




 1        TO DEFENDANTS AND THEIR ATTORNEY OF RECORD:
 2        PLEASE TAKE NOTICE, that on October 8, 2018 at 10:30a.m., or as soon
 3 thereafter as counsel can be heard in Courtroom 5B of the above-entitled court located

 4 at 221 West Broadway, San Diego, CA, Lead Plaintiff Natissisa Enterprises Ltd.

 5 (“Plaintiff”), by and through its attorneys, Levi & Korsinsky, LLP, will move the Court

 6 for an order granting leave to file the Second Amended Class Action Complaint

 7 (“SAC”), for the sole purpose of adding Anton Agoshkov as a named plaintiff.

 8        Plaintiff moves pursuant to Federal Rules of Civil Procedure 15. The motion to
 9 amend the complaint is in furtherance of justice and will not result in any prejudice to

10 Defendants if granted.

11        Plaintiff bases its motion on this notice, the attached Memorandum of Points and
12 Authorities, the accompanying Declaration of Adam M. Apton (including the proposed

13 amended pleading in redline form) and any other evidence which may be permitted by

14 the Court at the time of hearing.

15        Plaintiff requested Defendants consent in connection with the instant motion.
16 Defendants have not consented to the motion.

17

18 Dated: September 12, 2018                 LEVI & KORSINSKY, LLP
19

20
                                       By:   s/ Adam M. Apton                        .
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27                                                    -and-
28
                                             Nicholas I. Porritt (admitted pro hac vice)
                                                  2
     Case 3:16-cv-03044-L-KSC Document 62 Filed 09/12/18 PageID.1351 Page 3 of 3




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